  Case 20-16080      Doc 12    Filed 03/10/21 Entered 03/11/21 07:25:53              Desc Main
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                           UNITED STATES BANKRUPTCY COURT
                            NORTHERN DISTRICT OF ILLINOIS
                                      Eastern Division

In Re:                                       )               BK No.:      20-16080
Gino's Rosemont LLC,                         )
                                             )               Chapter: 7
                                             )
                                                             Honorable David D. Cleary
                                             )
                                             )
               Debtor(s)                     )

                      ORDER RE TRUSTEE'S MOTION TO DESIGNATE
                     PARTY PURSUANT TO BANKRUPTCY RULE 9001(5)

       This matter coming on for hearing on the Trustee's Motion to Designate Party Pursuant to Rule
9001(5), due notice having been given to Russel Lubliner, the debtor, counsel for the debtor and the
Office of The U.S Trustee and other parties in interest, no objections thereto having been filed, it is
       ORDERED, that Russel Lubliner is hereby designated to perform those acts which the debtor is
required to perform by the Bankruptcy Code and Rules.




                                                         Enter:


                                                                  Honorable David D. Cleary
Dated: March 10, 2021                                             United States Bankruptcy Judge

 Prepared by:
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